Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 1 of 22




                 EXHIBIT 4
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c12)   United States Patent                                               (10)   Patent No.:     US 10,592,973 Bl
       Eraker et al.                                                      (45)   Date of Patent:     *Mar. 17, 2020

(54)   IMAGE-BASED RENDERING OF REAL                                  (56)                      References Cited
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(71)   Applicant: Appliance Computing III, Inc.,
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(72)   Inventors: David Eraker, Seattle, WA (US);
                  Aravind Kalaiah, San Jose, CA (US);
                                                                                    FOREIGN PATENT DOCUMENTS
                  Robert McGarty, Seattle, WA (US)
                                                                     CA                   2587644              1/2015
(73)   Assignee: Appliance Computing III, Inc.,                      CN                   1242851              1/2000
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( *)   Notice:      Subject to any disclaimer, the term ofthis
                                                                                           OTHER PUBLICATIONS
                    patent is extended or adjusted under 35
                    U.S.C. 154(b) by O days.                         U.S. Appl. No. 61/502,427, filed Jun. 29, 2011, Bell et al.
                    This patent is subject to a terminal dis-                                       (Continued)
                    claimer.
                                                                     Primary Examiner - Frank S Chen
(21)   Appl. No.: 16/681,287
                                                                     (74) Attorney, Agent, or Firm - Ellen M. Bierman; Lowe
(22)   Filed:       Nov. 12, 2019                                    Graham Jones PLLC

                Related U.S. Application Data                         (57)                         ABSTRACT
(63)   Continuation of application No. 16/130,555, filed on          Under an embodiment of the invention, an image capturing
       Sep. 13, 2018, now Pat. No. 10,510,111, which is a            and processing system creates 3D image-based rendering
                        (Continued)                                  (IBR) for real estate. The system provides image-based
                                                                     rendering of real property, the computer system including a
(51)   Int. Cl.                                                      user interface for visually presenting an image-based ren-
       G06Q 30/06              (2012.01)                             dering of a real property to a user; and a processor to obtain
       G09G 5114               (2006.01)                             two or more photorealistic viewpoints from ground truth
                         (Continued)                                 image data capture locations; combine and process two or
(52)   U.S. Cl.                                                      more instances of ground truth image data to create a
       CPC ..... G06Q 30/0643 (2013.01); G06F 3/04815                plurality of synthesized viewpoints; and visually present a
                      (2013.01); G06F 3/04842 (2013.01);             viewpoint in a virtual model of the real property on the user
                        (Continued)                                  interface, the virtual model including photorealistic view-
                                                                     points and synthesized viewpoints.
(58)   Field of Classification Search
       None
       See application file for complete search history.                                23 Claims, 8 Drawing Sheets

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                                                     US 10,592,973 Bl
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U.S. Patent       Mar.17,2020     Sheet 1 of 8             US 10,592,973 Bl




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   Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 11 of 22


U.S. Patent       Mar.17,2020           Sheet 7 of 8       US 10,592,973 Bl




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       User requests view                                          No   view-point
       point      801                                                   synthesis     804                            ~
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Render Panorama
or other sampled
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viewpoint    803                                View-dependent          Pure synthetic          Light-field          =-
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                                                texture map  805        rendering from          rendering
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          Figure 8                                                      Blended/Selected
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        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 13 of 22


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       IMAGE-BASED RENDERING OF REAL                                   photos or videos. However, the location of the viewpoint is
                   SPACES                                              still restricted to the location at which the panorama photo
                                                                       was taken.
           CROSS-REFERENCE TO RELATED                                     From the buyer's perspective, real estate websites suffer
                  APPLICATIONS                                    5    from numerous problems at present. First among these is the
                                                                       typical gallery of photographs of the property. Usually, the
   This application is a continuation of U.S. patent applica-          photographs are taken by the real estate agent or homeowner
tion Ser. No. 16/130,555 filed Sep. 13, 2018; which is a               and are intended to highlight the positive attributes of the
continuation of U.S. patent application Ser. No. 15/832,653            property while minimizing any negative attributes. The
filed Dec. 5, 2017 and issued as U.S. Pat. No. 10,102,673;        10   photo galleries are usually navigated linearly, by proceeding
which is a continuation of U.S. patent application Ser. No.            from one two-dimensional photograph to the next. Lastly,
                                                                       the viewer is restricted to the viewpoint of the available
14/525,057 filed Oct. 27, 2014 and issued as U.S. Pat. No.
                                                                       photographs. To get a different viewpoint, the buyer must
9,836,885, which claims the benefit of U.S. Provisional
                                                                       visit the property in person.
Patent Application No. 61/895,978 filed Oct. 25, 2013. This       15      Potential home buyers suffer from a lack of real estate
application is also related to U.S. patent application Ser. No.        information and tools. Many real estate brokerage websites
14/525,052, filed Oct. 27, 2014, entitled "USER INTER-                 provide some photographs of the properties in their listings.
FACE FOR IMAGE-BASED RENDERING OF VIRTUAL                              However, these websites remain surprisingly poor at pro-
TOURS", U.S. patent application Ser. No. 14/525,059, filed             viding comprehensive visual and spatial information about
Oct. 27, 2014, entitled "IMAGE-BASED RENDERING OF                 20   properties.
VIRTUAL MODELS OF REAL SPACES", and U.S. patent                           There is a need for a system that overcomes limitations of
application Ser. No. 14/525,060, filed Oct. 27, 2014, entitled         the current methods of creating virtual models of real
"IMAGE-BASED RENDERING OF THREE DIMENSION                              properties, as well as providing additional benefits.
GEOMETRIES". All of the above U.S. patent applications
are fully incorporated herein by reference.                       25                           SUMMARY

                    TECHNICAL FIELD                                       A brief summary of some embodiments and aspects of the
                                                                       invention are first presented. Some simplifications and omis-
   This disclosure relates generally to methods and systems            sions may be made in the following summary; the summary
for image-based rendering and, more particularly, relates to      30   is intended to highlight and introduce some aspects of the
the creation and rendering of three dimensional geometry               disclosed embodiments, but not to limit the scope of the
combined with images of real world scenes.                             invention. Thereafter, a detailed description of illustrated
                                                                       embodiments is presented, which will permit one skilled in
                      BACKGROUND                                       the relevant art to make and use aspects of the invention.
                                                                  35   One skilled in the relevant art can obtain a full appreciation
   Real estate websites typically have a description of the            of aspects of the invention from the subsequent detailed
                                                                       description, read together with the Figures, and from the
real estate listed for sale on the website. The description
                                                                       claims (which follow the detailed description).
often includes pictures of the real estate in addition to a
                                                                          In one embodiment of the invention, a three dimensional
written description of the property. Photographs of the
                                                                  40   model of a real scene is constructed from image data such as
property are helpful and an improvement over a text descrip-           spherical panoramic photos, according to a plurality of
tion. However, without physically visiting the property to             image-based rendering (IBR) algorithms. Rather than use
look at it, the property can only be seen from the viewpoint           one image-based rendering algorithm throughout the three
of the photographer and lack spatial navigation. So photo-             dimensional model, the location of the viewpoint in the three
graphs, while helpful, have not eliminated the need to            45   dimensional model may be a factor in choosing among
physically go to the property and understand how it is laid            several image based rendering algorithms. Viewpoint loca-
out.                                                                   tions having real image data will result in photorealistic or
   Some real estate websites have posted video tours of their          near photorealistic panoramas. At viewpoint locations that
listed properties, which can be even more helpful than                 do not have real image data, image-based rendering methods
photographs. Often these videos are created by a realtor or       50   are used to generate geometric proxies that are combined
home-owner who walks through the home while recording                  with nearby image data, thus rendering synthetic views. In
with a video camera. The quality of those videos is generally          some embodiments, which image-based rendering algorithm
not good, so some realtors will use professional videogra-             is used to render the synthetic views depends on the density
phers to create a more polished and professional video.                of the data that is collected, the camera geometry, charac-
Unfortunately, videos are likewise limited in the sense that      55   teristics of the real scene, and so on.
the viewer can only see the property from the viewpoint of                In one embodiment of the invention, a computer system
the videographer. Also, the viewer does not have the ability           provides image-based rendering of real property, the com-
to tour the property on his own route because the videos               puter system including a user interface for visually present-
have a predetermined path through the house.                           ing an image-based rendering of a real property to a user;
   In an attempt to allow the viewer to have more control         60   and a processor to (i) obtain two or more photorealistic
over what he can observe, some real estate websites have               viewpoints from ground truth image data capture locations;
used panorama cameras to take panoramic photos of the                  (ii) combine and process two or more instances of ground
properties. This has the advantage that, from the location at          truth image data to create a plurality of synthesized view-
which the panorama was taken, the viewer can "rotate" his              points; and (iii) visually present a viewpoint in a virtual
viewpoint, thus observing the entire panoramic photo. These       65   model of the real property on the user interface, the virtual
panoramas have the advantage that they give a more "in-                model including photorealistic viewpoints and synthesized
person" feel to looking at the property than traditional               viewpoints.
        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 14 of 22


                                                    US 10,592,973 B 1
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   In one embodiment of the invention, a method obtains two            described in detail to avoid unnecessarily obscuring the
or more photorealistic viewpoints of a real space from                 description of the embodiments of the invention.
ground truth image data capture locations of the real space,           Overview
generates a plurality of synthesized viewpoints by combin-                In some embodiments of the invention, a website imple-
ing and processing two or more instances of the obtained          5    mented in a computer system allows users to navigate a
ground truth image data, and presents, via a user interface,           virtual tour of a real property. Among its many uses
a viewpoint in a virtual model of the real space, the virtual          described herein, embodiments of the website system pro-
model including photorealistic viewpoints and synthesized              vide a capability to tour a real property without physically
viewpoints of the real space.                                          visiting the property, to buy/sell/rent/lease-book the prop-
                                                                  10   erty, to store and share portions of virtual tours, and to search
   Under an embodiment of the invention, a website system
                                                                       for objects to purchase from merchants. In some embodi-
maintains a real estate web page. The real estate web page
                                                                       ments, the system displays information on the web page but
facilitates three-dimensional (3D) image-based rendering
                                                                       other delivery methods can be used (such as streaming video
virtual tours of real properties through a unique user inter-          or email).
face that provides multiple viewpoints and tour navigation        15      Embodiments of the invention include numerous innova-
tools. The website system facilitates virtual tours of real            tive informational, analytical, and collaborative tools.
estate, such as homes, that are offered for sale via the                  Some embodiments of the user interface provide valuable
website system. The website system can store various infor-            data that is aggregated from system user trends. Thus
mation about properties in which the user is interested and            property sellers can see how many system users have viewed
facilitate sharing of information with a real estate agent or     20   their virtual property, what areas of the virtual tour were
other service provider (e.g., a local merchant).                       most interesting to the viewers, and so on. On an individual
                                                                       level, this "backend" data can also be used for targeted
      BRIEF DESCRIPTION OF THE DRAWINGS                                advertising. For example, if a visitor to the virtual property
                                                                       is viewing the kitchen, the website system might show an
   FIG. 1 shows a block diagram of an embodiment of a             25   advertisement for an appliance store from which the refrig-
computer system suitable for use with the disclosed inven-             erator in the virtual kitchen may be purchased. Similarly, the
tions.                                                                 system might show an advertisement for a furniture store
   FIG. 2 shows a block diagram of a system for providing              that specializes in furniture in a style similar to that in which
an image-based rendering of a real property according to one           the virtual property is decorated. The website system may
embodiment of the invention.                                      30   have metadata on objects in the 3D virtual model. The object
   FIG. 3 shows a high level flow chart of the process of              metadata may be used to more closely match advertisers and
image-based rendering according to one embodiment of the               advertisements to viewed content. For example, if a viewer
invention.                                                             looks at an object from several viewpoints, the type of the
   FIG. 4 shows a user interface for presenting image-based            object (e.g., cooktop) and its associated metadata (e.g.,
rendering or real property according to one embodiment of         35   Viking, 4-bumer, embodiments of the system can automati-
the invention.                                                         cally recognize that a particular object having metadata, in
   FIG. 5 shows a flow chart of a method of image-based                this case the stovetop, that remains in the viewpoint can be
rendering for real estate according to one embodiment of the           used to trigger a targeted advertising system by correlating
invention.                                                             the object to an advertiser who sells the object or other
   FIG. 6 shows a flow chart of a method of capturing and         40   products related to the object. Demographics and other data
processing image data according to one embodiment of the               about the viewer may also be used in advertisement selec-
invention.                                                             tion. The advertisements may be predetermined or an adver-
   FIG. 7 shows a data capture map according to one                    tisement opportunity may be auctioned on-the-fly to a pool
embodiment of the invention.                                           of advertisers who will bid for the opportunity to present an
   FIG. 8 shows a flow chart of a method of image-based           45   advertisement in the available advertisement location.
rendering according to one embodiment of the invention.                   In some embodiments, the system includes mechanisms
   The headings provided herein are for convenience only               for collaboration between various users of the system.
and do not necessarily affect the scope or meaning of the              Shared access to select user account information and a
claimed invention.                                                     messaging system allow users to share their "favorites"
   In the drawings, the same reference numbers and acro-          50   folder with their real estate agents, leave comments and
nyms identify elements or acts with the same or similar                questions for home sellers, receive "suggested" property
functionality for ease of understanding and convenience. To            tours in the users "suggested" folder, and append comments
easily identify the discussion of any particular element or            or notes that will be visible to the user.
act, the most significant digit or digits in a reference number        Example Computing Environment for Image-Based Render-
generally refers to the Figure number in which that element       55   ing of Real Spaces
is first introduced (e.g., element 110 is first introduced and            FIG. 8 shows a block diagram of an exemplary embodi-
discussed with respect to FIG. 1).                                     ment of a system to implement the methods of image-based
                                                                       rendering for real estate and other real scenes disclosed
                DETAILED DESCRIPTION                                   herein. A user may access the virtual model via a user
                                                                  60   interface provided over the Internet 106 via a real estate
   The following description provides specific details for a           webpage 110 or streamed media hosted on a remote server
thorough understanding of, and enabling description for,               108. Alternatively, the user interface may be hosted locally
these embodiments of the invention. However, a person of               on smartphone 102 or mobile computer 104, either as a
ordinary skill in the art will understand that the invention           standalone application or cached media. When the user
may be practiced with many variations and these details do        65   selects a viewpoint location in the virtual model of a real
not list every possible variation. In some instances, well             property, a rendering engine, which may be hosted on the
known structures and functions have not been shown or                  server computer 108, will retrieve processed image data
        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 15 of 22


                                                   US 10,592,973 B 1
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from database 112. The rendering engine will then render the          a game port, a universal serial bus ("USB"), an IR interface,
requested viewpoint. In the embodiment shown, the server              a wireless transceiver 258, etc. A monitor 220 or other type
computer 108 will then provide requested 3D rendering to              of display device is also connected to the system bus 208 via
the user via real estate web page 110 and the user interface.         an interface, such as a video adapter 218. In addition to the
   FIG. 2 shows an exemplary computing environment 200           5    display 220, a computer typically includes other peripheral
for implementing various aspects of the disclosed inven-              output devices (not shown), such as speakers, printers, etc.,
tions. The computing environment 200 includes a computer              that can present information to the user.
202, the computer 202 including a processing unit 204, a                 As shown in FIG. 2, the computer 202 may operate in a
system memory 206 and a system bus 208. The system bus                networked environment using logical connections via wired
208 couples system components including, but not limited         10   and/or wireless communications to one or more remote
to, the system memory 206 to the processing unit 204. The             computers, such as a remote computer(s) 248. The remote
processing unit 204 may be any of various commercially                computer(s) 248 may be a workstation, a server computer, a
available processors. Dual microprocessors and other multi-           router, a personal computer, portable computer, micropro-
processor architectures may also be employed as the pro-              cessor-based entertainment appliance, a peer device or other
cessing unit 204.                                                15   common network node, and typically includes many or all of
   The system bus 208 can be any of several types of bus              the elements described relative to the computer 202,
structure that may further interconnect to a memory bus               although, for purposes of brevity, only a memory storage
(with or without a memory controller), a peripheral bus, and          device 250 is illustrated. The logical connections depicted
a local bus using any of a variety of commercially available          include a local area network (LAN) 252 and a wireless local
bus architectures. The system memory 206 includes read           20   area network (WLAN) 254. Such networking environments
only memory (ROM) 210 and random access memory                        are commonplace in homes and businesses. The Internet can
(RAM) 212. A basic input/output system (BIOS) is stored in            also be used to provide access to remote computer 248.
a non-volatile memory 210 such as ROM, EPROM, or                         When used in a LAN networking environment, the com-
EEPROM. A BIOS contains the basic routines that help to               puter 202 is connected to the local network 252 through a
transfer information between elements within the computer        25   wired or wireless communication network interface or
202, such as during start-up.                                         adapter 256. The network adaptor 256 may facilitate wired
   The computer 202 further includes a hard disk drive 214.           or wireless communication to the LAN 252. When used in
The hard disk drive 214 can be connected to the system bus            a WLAN networking environment, the computer 202 typi-
208 by a hard disk drive interface 216. The removable                 cally is connected to a communications server on the LAN,
storage drives (DVD drives, floppy drives, etc.) are not         30   or has other means for establishing communications over the
shown for clarity. However, the removable storage drives              WLAN 254, such as the Internet. In a networked environ-
and their associated computer-readable media provide non-             ment, program modules depicted relative to the computer
volatile storage of data, data structures, and computer-              202, or portions thereof, may be stored in the remote
executable instructions for implementing the inventions               memory storage device 250. The network connections
described herein. For the computer 202, the drives and           35   shown are exemplary and other means of establishing a
media accommodate the storage of information input by a               communications link between the computers may be used.
user, or received from a remote computer, in a suitable                  The computer 202 is operable to communicate with any
digital format. Although the description of computer-read-            other devices having wireless communication capability,
able media above refers to a hard disk, a removable mag-              e.g., a cell phone, a printer, desktop and/or portable com-
netic disk, and a DVD, a person of ordinary skill in the art     40   puter, portable data assistant, and telephone. As discussed
understands that other types of storage media which are               briefly above, suitable wireless technologies may include,
readable by a computer, such as zip drives, magnetic cas-             but are not limited to, cellular, WLAN (e.g., IEEE 802.11),
settes, flash memory cards, digital video disks, cartridges,          IEEE 802.16, IEEE 802.20, and Bluetooth.
and the like, may also be used in the exemplary operating                IEEE 802.11, also commonly known as "Wifi", is a
environment, and further that any such media may contain         45   wireless communication protocol that enables computers to
computer-executable instructions for performing the meth-             send and receive data anywhere within the range of a base
ods of the present invention.                                         station. A WLAN can be used to connect computers to each
   Software applications can be stored in the drives and              other, to the Internet, and to wired networks (which may use
RAM 212. These applications can include an operating                  IEEE 802.3 or Ethernet communication protocols).
system 230, one or more application programs 232, (e.g.,         50   Examples of Image-Based Rendering of Real Scenes
web browsers and client applications, etc.) other program                FIG. 3 shows a high level flow chart 300 of the three
modules 234 (e.g., cookies, etc.) and program data 236. All           primary steps in image-based rendering for real estate. In
or portions of the operating system, applications, modules,           step 301, image data is captured. Image data may be
and/or data can also be cached in the RAM 212.                        captured by smartphones or other mobile devices, video
   Embodiments of the invention can be implemented with          55   cameras, digital SLR cameras, specialized cameras (e.g.,
various commercially available operating systems or com-              other cameras that take spherical panoramic images), etc.
binations of operating systems.                                       Additional geometry data about a real scene may also be
   A user can enter commands and information into the                 captured from laser range scanners, infrared structure light,
computer 202 through a keyboard 244 and a pointing device,            or other data collection. In step 302, the captured image data
such as a mouse 242. For example, the user might employ          60   is processed to create panoramas, determine camera geom-
the mouse to navigate a virtual tour user interface, as               etry, and 3D reconstruction algorithms are employed to
described herein. Other input devices (not shown) may                 generate dense representations of a 3D model, geometric
include a microphone, an IR remote control, a joystick, a             proxies, parcel maps and floor plans. In step 303, one or
game pad, similar devices. These and other input devices are          more rendering algorithms are applied to the data and 3D
often connected to the processing unit 204 through a serial      65   model to render a 3D view of the real estate property.
port interface 240 that is coupled to the system bus 208, but            FIG. 4 shows an embodiment of a User Interface System
may be connected by other interfaces, such as a parallel port,        400 for image-based rendering of real estate. Three different
        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 16 of 22


                                                   US 10,592,973 B 1
                              7                                                                     8
user interface elements serve the dual purposes of informing          space, and computing view dependent texture maps for the
the user of his location in the model and simultaneously              geometry and/or geometric proxies.
enabling spatial navigation. These three elements are shown              Rendering displays the processed data to an end-user via
in the user interface (400) embodiment of FIG. 4, which               an IO device. During rendering, the user's position and
would normally be contained within a browser window,             5    navigation influence which elements of geometry and image
within a framed client application, or as the entire screen           data are combined for a given Image-Based Rendering
during full screen mode. User Interface element 402 is the            algorithm at any possible location in or around the virtual
viewpoint within a virtual model generated by combining               model. Ground truth image data is the captured image
geometry and image data using Image-Based Rendering                   associated with a particular capture location, and optionally
                                                                 10
(IBR), thus creating a 3-dimensional (3D) view. UI element            may include any metadata associated with the captured
404 is a two-dimensional (2D) map overlay that displays the           image, such as GPS coordinates, IR point clouds, etc.
relative location in the virtual model of the current view-           Ground truth data may also include labels (outside: back-
point 406 shown in UI element 402. UI element 408 is a text           yard, or groundfloor: bathroom) which are ground truth in
overlay that displays one or more labels associated with the     15
                                                                      the sense that they are directly collected at the scene and are
user's location within the virtual model.                             not synthetic approximations. For example, when a user is
   FIG. 4 shows the three primary user interface elements of          near a position where ground truth image data is captured,
an embodiment of the navigation tool for image-based                  very little geometry is required to render the most photore-
renderings of real estate. UI element 402 shows a rendering           alistic view of the model. At the exact position of capture,
of the model from a specific viewpoint position and also         20   the use of an image primitive is the most photorealistic view
serves as a means to navigate to adjacent positions and to            possible.
change the viewing vector from a fixed position. Navigation              Composited image primitives such as a spherical pan-
can occur using various well known input/output (IO)                  orama enable 2 DOF rotational navigation. When translating
devices, such as a keyboard, touchscreen, eye-tracking tech-          directly between two spherical panorama locations, other
nology, gesture recognition technology, or a computer            25   algorithms such as optical flow may provide more photore-
mouse. For densely sampled spherical panoramas, one                   alistic warping during the rendering of predetermined trans-
example of navigation using UI element 402 with a mouse               lational pathways defined in the connectivity graph. When
would be to click on the rendered view to translate in the XY         translating between other locations within the virtual model,
plane to another panorama location in the model. Another              the use ofVDTM over explicit geometric proxies combined
example of navigation using UI element 402 would be to           30   with depth and feature matching between nearby panoramas
click and hold the mouse button, enabling rotation about the          during rendering provides a decrease in photorealism but
Z axis, thus "looking around" without translating in the XY           enables fluid movement to any spatial location.
plane. As the user navigates, the rendered viewpoint shown               In contrast to traditional texture maps, VDTMs compute
in UI element 402 changes in real time based on a new                 new textures for different spatial positions, dynamically
position and viewing vector associated with the new loca-        35   changing these as the user's spatial position changes. This
tion.                                                                 dramatically reduces artifacts associated with appearance of
   Many parts of the User Interface System 400 work                   objects. In various embodiments, rendering may use RGB
together to create a unique user experience for touring a real        spherical panoramas, point clouds, geometric proxies, view
estate environment over the Internet-in particular the 3D             dependent texture mapping, and feature matching between
view rendered in UI element 402 warrants further discus-         40   the spherical panoramas and geometric proxies to create a
sion. In the 3D view of UI element 402, multiple IBR                  fluid user experience involving multiple IBR algorithms that
algorithms can be combined to create a user experience that           dynamically change based on the user's location, direction,
overcomes the inherent tradeoff between photorealism and              and speed of movement within the model. A user can view
spatial navigation caused by using just one IBR algorithm             ground truth image data or navigate to any other synthetic
exclusively. For example, dense spherical panoramas may          45   viewpoint in the same user interface, enjoying both photo-
be combined with the use of view dependent texture map-               realism and spatial navigation.
ping (VDTM) during navigation as the user spatially trans-               FIG. 5 shows an embodiment of a computer-implemented
lates and rotates the viewpoint with the virtual model.               image-based rendering (100) for providing a three-dimen-
   The capture process (defining a spatial boundary, data             sional (3D) virtual model of a real property according to
sampling, and annotation) for an enhanced user experience        50   various aspects of the disclosed innovations.
involves a dense sampling of spherical panorama image data               In step 502, the system creates or generates the spatial
at multiple exposures (e.g., high definition rendering, HDR)          boundaries in a model of the property that define the land
and sampling of point cloud geometry from a hybrid camera             (perhaps a parcel outline), structure (e.g., house, apartment,
and laser range scanning device. The processing pipeline              office, etc.), structure internals (e.g., bedrooms, kitchens,
(determining data sets, image calibration, image processing,     55   hallways, etc.) and/or air-space above the land (e.g., via
3D reconstruction (3DR) and scene understanding) operates             quadcopter or pole-based data capture of aerial views).
on the data output from the capture process. Image calibra-              In step 504, RGB image data is captured from each of the
tion involves determining panorama pose and adding depth              defined spatial boundaries. The captured RGB data may be
to each pixel of the panorama.                                        annotated, during or after capture, according to the spatial
   Image processing creates HDR spherical panoramas from         60   boundaries or other factors. The use of computational pho-
input images, 3D reconstruction involves removing noise               tography approaches such as High Dynamic Range (HDR)
from point clouds, reconstructing a real estate environment's         can greatly decrease the amount of work spent during the
geometry to varying degrees of approximation, generating              RGB capture stage because special lighting of the scene is
geometric proxies that describe the environment with sim-             not necessary. HDR captures the same image at multiple
pler meta primitives, feature matching between spherical         65   exposure levels and combines them with post-processing so
panoramas, positioning of spherical panorama data in 3D               that an appropriate exposure level is applied to each area in
space, feature matching between the panorama and 3D                   the captured scene. In some embodiments, the use of HDR
        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 17 of 22


                                                    US 10,592,973 B 1
                              9                                                                      10
techniques allows for automatic adjustment for image expo-                In step 516, the 3D data is used to generate a geometric
sure levels by selection of appropriate light levels for each          proxy for the 3D model of the real property.
pixel in the HDR images.                                                  In step 518, the results are combined and a 3D scene that
   In step 506, panorama images are created from the RGB               has photorealistic views from within a panorama capture
image data. In an alternative embodiment, High Dynamic            5    location, as well as semi-photorealistic views from other
Range (HDR) panoramas can be constructed by processing                 locations using a geometric proxy and real image data
multiple overlapping input images having varying exposures             (image-based rendering), are rendered to a viewer (end
to create composite higher contrast images that are optimally          user). In addition to the 3D views, 2D floor plans are shown
exposed.                                                               to the user as well as descriptive spatial boundary labels (i.e.,
                                                                  10   one dimensional or ID, such as a "list view" or a list of
   In step 508, the camera geometry is determined by use of
                                                                       labels for different locations which map to the 3D model). In
first pass feature detection within the panoramas in order to
                                                                       this way, the system can calculate and present a viewer with
spatially calibrate the panoramas. The spatial boundary
                                                                       images of a real property in 3D, 2D, and ID.
definitions may be used to group panoramas so that camera                 FIG. 6 provides a detailed block diagram of an embodi-
geometry is only found between line-of-site panoramas. A          15   ment of a method of processing image data and associated
spherical panorama bundle adjustment heuristic can be used             data according to one or more of the disclosed innovations.
to group the panoramas. The bundle adjustment heuristic                   In step 601, input images are collected. The input images
may be initialized with metadata such as GPS or wifi                   can come from various sources such as mobile devices (e.g.,
positioning coordinates associated with a sample capture               smartphones), point-and-shoot cameras, GoPros on a rig,
location, gyroscopic or inertial data, or other spatial infor-    20   and specialty cameras systems such as LadyBug5 from Point
mation.                                                                Grey. The input images can be shot with a tripod, or by
   In step 510, a second pass feature detection algorithm is           holding the device in hand or on top of other devices such
applied to generate a dense representation of the 3D model             as drones, robots or other kinds of automated, semi-auto-
geometry (e.g., high level features such as planes, lines,             mated, or remote controlled devices. The output of such
floors, etc.) or individual 3D points which can create a dense    25   source devices is RGB information that may be stored on the
point cloud. Note that any other geometric data collected              local devices, streamed to nearby devices in real-time or in
from the scene such as with a laser range scanner, infrared            regular intervals, or transmitted to a remote storage device
based depth maps (e.g., such as from a Microsoft Kinect), or           such as a server computer. The streaming of such RGB data
other manual approaches can increase the accuracy of the               can happen over WiFi or via wired communication charmels
geometry but are not required in the disclosed system. Some       30   such as high-speed USB links. The input image data can be
embodiments of the system work with images and do not use              collected as singular shots, burst mode pictures, or as a
other geometric data.                                                  video. The RGB input capture may be coordinated with
   In step 512, the geometry is converted into the correct             capture of depth data (e.g., step 611) in time or location.
geometric proxy based on the density of the data sampled                  The relative configuration between the locations of the
during capture. The correct proxy is the one that can be          35   RGB capture device and the depth capture device may be
combined with image data to create the most photorealistic             known in advance (rigid spatio-structural configuration) or it
synthetic viewpoint. The proxy is chosen from among                    may be unconstrained (in which case their relative extrinsics
various image-based rendering techniques such as view-                 will be approximated using computer vision techniques). In
dependent geometry, texture-mapped models, 3D warping,                 various embodiments, the input data may be captured by
view-dependent texture, view morphing, view interpolation,        40   trained professional operators or by untrained consumers.
mosaicking, concentric mosaics, light field, lumigraph, opti-          Other data inputs can include GPS coordinates, indoor GPS
cal flow, stitching, rectification, color interpolation, blend-        coordinates, and approximate positions marked by a human
ing, fall-off correction, etc., depending on tradeoffs between         operator on a floor plan. Additionally, in an alternative
photorealism, desired amount of spatial navigation for the             embodiment, a human operator can associate metadata such
viewer (i.e., how much can the viewer vary the viewpoint),        45   as tags with each image to represent the home, floor or room
and the degree of data sampling.                                       of the panorama (e.g., 615).
   IBR algorithms generally differ based on a variety of                  In step 602, the input images are processed using tech-
factors, including, but not limited to, the type of geometric          niques such as white balancing, noise reduction, image
proxy employed in rendering; the density of sampling that              stabilization, super-resolution, tone-mapping or other
takes place during data capture; the types of devices and         50   dynamic range compression techniques. Image processing
sensors used in data capture; or the degree of spatial navi-           can occur asynchronously or could be processed in real-
gation enabled in the rendering or viewing experience. In              time. In some embodiments it is possible to partially or fully
general, more geometry enables more spatial navigation and             process the data on the capture device. In other embodi-
less dense sampling. Less geometry and more image sam-                 ments, the data may be uploaded/streamed to a remote server
pling enable higher degrees of photorealism but less spatial      55   to be processed in order to take advantage of the server's
navigation. All IBR algorithms have a trade-off between                greater processing power.
photorealism, spatial navigation, and the degree of data                  In step 603, images whose extrinsics primarily differ by a
sampling. Also, photorealism can be increased for synthetic            rotational component may be stitched into a spherical pan-
views by use of other geometric data such as laser/infrared            orama, a cylindrical panorama or a flat mosaic. Stitching
but such geometric data is not required by the disclosed          60   these images together may be done using relative camera
innovations for suitable results.                                      extrinsics, feature matching, graph cut algorithms (e.g.,
   In step 514, the 3D data is used to generate a parcel map           Boykov), image blending, panorama weaving, and other
(e.g., the exterior and aerial views of the real estate) and           similar techniques. The stitching may be done before or after
floor plan. A 2D floor plan may be used to create a naviga-            the image processing techniques described in step 402. In
tion-enabled map of the interior of the real estate. For          65   some scenarios, such as a homeowner capturing images with
example, a 2D floor plan of the rooms of a house can be                a smartphone, it may be difficult to detect if a set of images
automatically generated from the 3D data.                              make a panorama. In those cases, the user could be explicitly
        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 18 of 22


                                                    US 10,592,973 B 1
                             11                                                                     12
asked to capture images for a panorama. Alternatively,                 may then be obtained by connecting panoramas that have
spatio-temporal coherence in the images may be used to                 strong feature matches. Algorithms such as kd-tree nearest
detect panoramas.                                                      neighbor search may be used to perform fast feature match-
   In step 610, embodiments of the system optionally may               ing between images. Alternatively, brute force search may
collect depth data that may be spatio-temporally coherent         5    be used, although generally less effectively. The panorama
with the RGB data (for example, the depth sensors could be             neighborhood graph may be also be constructed with the
very close to the RGB sensors and could be sampled at                  help of additional metadata information (e.g., room labels,
around the same time when the RGB sensors are sampled).                GPS coordinates, etc) associated with the panoramas or a
The depth data is in addition to RGB data provided by                  manually connected panorama graph. A weight is typically
camera devices and may come from different sources such           10
                                                                       assigned to each edge to indicate the strength of the feature
as Infrared (IR), LASER, or structured light. The depth data
                                                                       match between the edges of the panorama pairs. The weight
may be coupled with RGB data in either an open or
                                                                       can be computed by estimating the reprojection error after
proprietary format. Other data inputs associated with the
image data can include GPS coordinates, indoor GPS coor-               the relative extrinsics have been estimated.
dinates, and approximate positions marked by a human              15
                                                                          In step 606, the panorama connectivity graph (neighbor-
operator on a floor plan of the property.                              hood graph) constructed in step 605 may be used to estimate
   In step 611, RGB data may be registered with depth data             the relative extrinsics between panoramas. This information
(sometimes herein referred to as RGB+D data) by using                  can be used to reduce the jarring effects when transitioning
different heuristics such as using relative directional differ-        between these panoramas in the Image Based Rendering
ences in the sensors (assuming the relative positions of the      20   module.
sensors is insignificant) or a per-pixel registration of the              In step 607, a sparming tree of the panorama neighbor-
RGB and depth sensor data can be achieved by warping the               hood graph may be useful to simplify the initial extrinsics
depth image to the perspective of the RGB sensor image and             estimation because the panorama connectivity graph is a
computing per-pixel depth in the RGB space after process-              densely connected graph. The spanning tree can optionally
ing the warped depths. In some embodiments, registering           25   be constructed so that it spans strongly connected clusters of
RGB data with depth data may be used to interpret a pixel              panoramas (e.g., all the panoramas in the same room) as
location from a particular image as a 3D ray or vector for             opposed to sparming individual panoramas. A root is chosen
later use in mapping texture onto a 2-D or 3-D polygon mesh            of this panorama spanning tree and the global extrinsic is
or a point cloud.                                                      propagated along the graph by using the relative extrinsics
   In step 612, a collection of RGB+D images may be               30   computed between the 2 panoramas of each edge. This
registered together using an algorithm such as Iterative               global extrinsic may be used for the initial input to the
Closest Point (ICP) or other similar algorithms for reducing           panorama bundle adjustment process. In some embodi-
the difference between two clouds of points or geometric               ments, the initial estimates of the extrinsics may be
alignment of 3D models. Factors such as relative proximity             improved by constraining the position and orientation of the
of the depth images may be used to initialize the ICP             35   panoramas using spanning tree limitations.
algorithms. A globally consistent point may be obtained by                In step 608, bundle adjustment is the process of simulta-
pamng spatio-temporally neighboring depth images                       neously estimating the 3D positions of the points corre-
together and progressively merging locally registered point            sponding to the matched features and extrinsics of the
clouds into successively larger and more global point clouds.          panoramas. Bundle adjustment attempts to minimize repro-
A distributed ICP algorithm may be employed to operate on         40   jection error between the image locations of observed and
local point clouds independently with successively larger              predicted image points (e.g., minimizing deviation from true
point clouds being processed by larger individual nodes.               image projections). A good outcome of bundle adjustment
   In step 617, an optional preview mode may be used to                requires good initial estimates of the 3D point positions and
provide preliminary feedback regarding the quality of data             the camera extrinsics. The likelihood of a good outcome is
and the quality of the eventual user experience. The preview      45   improved by detecting a feature in as many panoramas as
feature may range from previewing raw sampled RGB and                  possible. In other words, the higher the average number of
depth data, to previewing semi-processed images (eg.,                  panoramas in which a feature is detected, the higher the
stitched panoramas, white balanced images, etc.) to pre-               accuracy of the computed output. In one embodiment, a
viewing part or all of reconstructed imagery and geometry.             bundle adjustment formulation is implemented in which
   In step 604, the panorama image results of step 603 are        50   bundle adjustment is initially done on small clusters of
further processed for feature mapping. Feature matching                strongly connected panoramas. This technique usually
between panoramas is an important way to understand the                results in good local estimates. The small cluster bundle
relative spatial relationships between panoramas. Feature              adjustments may then be merged one by one.
detection may be done using standard feature detectors such               In step 609, computed global panorama extrinsics result
as SIFT, Harris corner detector, MSER detector, Carmy edge        55   from the bundle adjustment of step 608.
detector, or SURF detector. In indoor environments, feature               In step 613, the computed globally consistent 3D point
detection is also useful to find higher level features such as         cloud is derived from ICP-based registration of depth sen-
rectangles. The features may be matched using nearest                  sored data in step 612 and/or an output of bundle adjustment
neighbor, approximate nearest neighbor algorithms, or other            step 608.
non-parametric methods used for classification and regres-        60      In step 614, higher level geometric proxies are fit to the
sion. Additional constraints such as ratio tests or scale              point cloud. These proxies may include line segments (ID),
invariant feature tests may be used to improve the accuracy            curves (ID), planes (2D), rectangles (2D), triangles (2D),
of the feature matches.                                                and 3D voxel based volumetric representations. Several
   In step 605, a panorama neighborhood graph may be                   techniques such as noise elimination, Manhattan World
created. The feature matching information may be run on           65   assumptions, RANSAC-based plane fitting, and Poisson
different pairs of panoramas to ascertain the spatial prox-            surface reconstruction can be used to derive higher level
imity of the panoramas. A proximity graph of the panoramas             primitives representing the scene. Meta level representations
        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 19 of 22


                                                   US 10,592,973 B 1
                             13                                                                      14
of the scene such as the floor plan can be derived by                    At decision point 802, the rendering system evaluates the
simplification of these primitives.                                   data at its disposal to aid the rendering of a requested
   In step 615, metadata may be optionally associated with            viewpoint. If the viewpoint has been sampled as panorama,
images or portions of images to identify objects (eg., oven,          an image or as a video, then the rendering system can use the
fridge, etc.), to explain a space (eg., ways to use a physical   5    sampled raw and/or processed sensor-captured data to ren-
space, etc.), to provide location information, etc. In one            der the requested viewpoint in step 503. However, the
alternative embodiment, object metadata may be automati-              requested viewpoint may be relatively far away from any
cally determined by comparing an object's 3D image with a             sampled viewpoint. This is quite possible in real estate
database of known images. A match (e.g, via comparison of             environments where the area can be very large (e.g., large
                                                                 10   homes, ranches, event spaces), acquisition can be difficult
point cloud data, image features, etc.) to a known image will
                                                                      (e.g., view of the home from the top, heavy obstacles to
result in identification of the object and the appropriate
                                                                      accessing a region) or delicate (e.g., water ways, soft green-
metadata may be imported from the database and associated
                                                                      ery, etc.). Such spaces may prohibit a denser image sampling
with the newly identified object. As additional metadata, the         of the region and require synthesis of novel viewpoints, step
creator of the virtual model may identify object attributes      15   804, at locations from which no image data was directly
that are useful for advertisers, such as model numbers, color,        captured. As discussed in the explanation of FIG. 6, step
physical size of opening or object, similar styles, etc. Know-        512, choosing an algorithm for novel viewpoint synthesis is
ing the physical size of an object or the size of the opening         typically a function of tradeoffs between photorealism, the
into which it fits allows for the advertisement of potential          desired amount of the quality and density of the available
substitutes for the object. For example, knowing the size of     20   data, desired amount of spatial navigation for the viewer
the opening available for a refrigerator would allow the              (i.e., how much can the viewer vary the viewpoint), and the
viewer to browse potential substitutes of the correct size            degree of data sampling.
from an advertiser.                                                      In step 807, light field rendering involves rendering a
   In step 616, the stitched panoramas, the geometric infor-          novel viewpoint by sampling the space of lights rays in and
mation, raw captured input data, and metadata are then           25   around the viewpoint's vicinity and reconstructing the light
combined to achieve photo-realistic rendering using image-            field at the requested viewpoint. If the sampling around the
based rendering techniques.                                           requested viewpoint is dense enough or the scene is not
   FIG. 7 shows an example of a panorama capture map 700              complicated enough (e.g., most of the complex geometry is
having of a distribution of captured spherical panoramas on           very far away or there is very little RGB+D complexity in
a parcel 701 having a house 702, where each number 1-21          30   the vicinity of the requested view point) then the light field
represents a Data Sampling location (e.g., a location where           at the novel view point can be approximated by: 1) warping
a spherical panorama photo was taken). Note that different            the RGB+D of the nearby sampled images to the new view
sampling densities in different spatial boundaries, such as           point, 2) projecting the approximate depth map at the novel
dense sampling indoors 704 and sparse sampling outdoors               view point by synthetic rendering of the reconstructed
706. Details associated with the floor plan and topography       35   geometry, 3) Using feature matching information to register
are omitted. Two arrows shown between capture location 2              the warped and synthetic geometry with respect to each
and 14 and 11 and 20 represent doors that connect the spatial         other at the novel view point, 4) Run time rendering is then
boundaries in a connectivity graph. In later rendering stages,        done using a warping, blending, -based or machine-learning-
users will be able to move between the indoor and outdoor             based approach to predict the object (and hence the RGB+D
areas based on this connectivity graph. Additional details       40   correspondence) at every pixel of the novel viewpoint. This
associated with the topography and the interior floor plan are        requires an automated processing of the captured data to
omitted for clarity as are the actual density of the spherical        analyze if it lends itself to light field rendering. A 2D (or 3 D)
panoramas.                                                            map is determined which identifies the areas where light
   FIG. 8 shows a flowchart of an exemplary embodiment of             field rendering is permissible. This map also stores the
an image-based rendering method.                                 45   contributing sampled data at points in the permissible area.
   In step 801, a user may request different kinds of views as        During render time, the sampled data is then used to render
a user navigates a sampled RGB+D environment (e.g., a                 the novel view point. If the rendering is built on machine-
virtual model of house). In some instances, the user may              learning based approaches, it may not be feasible to render
request a view from the same location at which image data             in real time using a simple computing device. In such
was captured. In other instances, the user may request a view    50   situations an oflline or distributed rendering infrastructure is
from a location at which no image data was captured. If the           leveraged.
user is navigating a sampled video path, for example, then               In step 805, view dependent texture mapping is a way to
the user may request a view from a location where a video             synthesize novel views by mapping different pre-captured/
frame was not captured. Or the user may want to jump off              synthesized texture maps on the same approximate geom-
from the sampled path.                                           55   etry. The resulting renderings tend to be a better viewpoint
   When a user is navigating panoramas, another type of               approximation. A 2D (or 3D) map is determined which
view that a user may request is a transition between pan-             identifies the areas where light field rendering is permissible.
oramas that is indicative of the physical experience of               In each such region, the visible geometry and the permis-
transitioning between the panorama capture locations in the           sible view-dependent texture maps for each polygonal ele-
real world. For example, the user may want to virtually          60   ment of the geometry are computed. At render-time, the right
move from the location where a panorama was captured to               texture map to use is determined for each polygon depend-
a nearby location where a different panorama was captured.            ing on the rendering viewpoint.
Alternatively, the user may want to get an approximate view              In step 806, pure synthetic rendering from geometric
that involves significantly stepping away from the locations          proxies involves rendering captured/reconstructed geometry
where the image data was captured. A smooth visual tran-         65   along with the computed texture maps.
sition between the virtual locations avoids the visual disso-            In step 808, the final rendering chosen for novel view
nance of an abrupt image change.                                      synthesis depends on the situational accuracy of the various
        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 20 of 22


                                                   US 10,592,973 B 1
                             15                                                                     16
rendering algorithms. The accuracy of rendering at a given            embodiments described herein. These and other changes can
location can be estimated using techniques such as repro-             be made to the invention in light of the detailed description.
jection errors, average texture warp distortions, average                These and other changes can be made to the invention in
distance to sampled view points, etc. Depending on the                light of the above detailed description. In general, the terms
estimated accuracy of various novel viewpoint synthesis          5    used in the following claims should not be construed to be
algorithms, the estimation transitional speed of the viewer           limited to the specific embodiments disclosed in the speci-
and the clarity of rendering expected by the user, the final          fication, unless the above detailed description explicitly
rendering algorithm may be a weighted blend of two or more            defines such terms. Accordingly, the actual scope of the
of the results of the various novel viewpoint synthesis               invention encompasses the disclosed embodiments and all
                                                                 10   equivalent ways of practicing or implementing the invention
algorithms from steps 805, 806 and 807.
                                                                      under the claims.
   Aspects of the invention described above may be stored or
                                                                         In view of the many possible embodiments to which the
distributed on computer-readable media, including magnetic
                                                                      principles of this invention may be applied, it should be
and optically readable and removable computer discs, as               recognized that the detailed embodiments are illustrative
well as distributed electronically over the Internet or over     15   only and should not be taken as limiting the scope of the
other networks (including wireless networks). Those skilled           invention. Thus, we claim as our invention all such embodi-
in the relevant art will recognize that portions or embodi-           ments as may come within the scope and spirit of the
ments of the invention may also reside in a fixed element of          following claims and equivalents thereto.
a communication network such as a server or database,
while corresponding portions may reside on a mobile com-         20      What is claimed is:
munication device, such as a laptop computer, Personal                   1. A computer-readable memory medium containing pro-
Digital Assistant ("PDA"), or mobile phone. Data structures           gram commands for controlling a computer processor, when
and transmission of data particular to aspects of the inven-          executed, to provide image-based rendering of a real prop-
tion are also encompassed within the scope of the invention.          erty, by performing a method comprising:
   In accordance with the practices of persons skilled in the    25      obtaining two or more views from capture locations in a
art of computer programming, embodiments of the invention                   plurality of spaces of the real property using ground
are described with reference to acts and operations that are                truth image data, the ground truth image data including
performed by computer systems. Such computer-executed                       images of the real property captured from the capture
acts and operations may be performed by an operating                        locations;
system (e.g., Microsoft Windows, Linux, Apple iOS,               30      defining a plurality of spatial boundaries of the plurality
Android) or an application program. The acts and operations                 of spaces of the real property, each spatial boundary
include the manipulation by the CPU of electrical signals                   delineating a volume of one or more of the plurality of
representing data bits and the maintenance of data bits at                  spaces, at least one of the plurality of spatial boundaries
memory locations to operate the computer systems and                        defining a parcel outline of the real property, and at
process signals. The memory locations where data bits are        35         least one of the plurality of spatial boundaries defining
maintained are physical locations that have particular elec-                a space located within the parcel outline;
trical, magnetic, or optical properties corresponding to the             annotating the ground truth image data by annotating at
data bits. Although databases are shown as separate physi-                  least some of the captured images of the real property
cal/logical entities for clarity, they may be combined and/or               with information indicating a capture location of a
aggregated to suit the physical/logical architecture of the      40         corresponding image relative to a corresponding spatial
system in which they are used.                                              boundary, each capture location identifying a location
   Unless the context clearly requires otherwise, throughout                within the corresponding spatial boundary defined
the description and the claims, the words "comprise," "com-                 space or identifying the space delineated by the corre-
prising," and the like are to be construed in an inclusive                  sponding spatial boundary;
sense as opposed to an exclusive or exhaustive sense; that is    45      combining and processing two or more instances of the
to say, in the sense of"including, but not limited to." Words               ground truth image data to create a plurality of synthe-
using the singular or plural number also include the plural or              sized views, wherein the synthesized views comprise
singular number respectively. Additionally, the words                       one or more of composites, transitions, or projections
"herein," "above," "below" and words of similar import,                     derived from processing ground truth image data, and
when used in this application, shall refer to this application   50         wherein the synthesized views are associated with
as a whole and not to any particular portions of this                       corresponding spaces of the plurality of spaces of the
application. When the claims use the word "or" in reference                 real property;
to a list of two or more items, that word covers all of the              generating and rendering a virtual model of a current
following interpretations of the word: any of the items in the              space within the plurality of spaces of the real property
list, all of the items in the list and any combination of the    55         from a perspective of a current view, the current view
items in the list.                                                          being one of the plurality of views obtained using
   The above detailed descriptions of embodiments of the                    ground truth image data or one of the plurality of
invention are not intended to be exhaustive or to limit the                 synthesized views derived from processing ground
invention to the precise form disclosed above. While specific               truth data and associated with the current space;
embodiments of, and examples for, the invention are              60      identifying the current space in the real property where
described above for illustrative purposes, various equivalent               the current view is located using the capture locations
modifications are possible within the scope of the invention,               indicated by the annotated ground truth image data;
as those skilled in the relevant art will recognize. For                 visually presenting, on the user interface, at least a portion
example, while steps are presented in a given order, alter-                 of the virtual model, a map user interface element, and
native embodiments may perform routines having steps in a        65         a text user interface element, the map user interface
different order. The teachings of the invention provided                    element indicating a position of the current view in the
herein can be applied to other systems, not necessarily the                 current space, the text user interface element including
        Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 21 of 22


                                                    US 10,592,973 B 1
                              17                                                                      18
      a label identifying the current space in the real property           11. The computer-readable memory medium of claim 1
      within which the current view is located;                         wherein the image-based rendering is performed using
   wherein the portion of the virtual model, the map user               image-based rendering techniques comprising: techniques
      interface element, and the text user interface element            for rendering with no geometry, techniques for rendering
      are functionally linked based on the position of the         5    with implicit geometry, or techniques for rendering with
      current view in the real property.                                explicit geometry.
   2. The computer-readable memory medium of claim 1                       12. The computer-readable memory medium of claim 1
wherein the label identifying the current space in the real             wherein the current space is a room in a building of the real
property is a floor designation, and wherein the annotating             property.
                                                                   10      13. The computer-readable memory medium of claim 1
at least some of the captured images of the real property with
                                                                        wherein the method further comprises:
information indicating a capture location of a corresponding
                                                                           generating the map user interface element and the text
image relative to a corresponding spatial boundary further
                                                                              user interface element using the annotations associated
comprises determining one or more spatial boundaries asso-                    with the ground truth image data; and
ciated with the floor designation identifying the current          15      displaying an advertisement for an object in the at least
space.                                                                        the portion of the virtual model presented on the user
   3. The computer-readable memory medium of claim 1                          interface, based upon a type of the object.
wherein a plurality of the visually presented at least a portion           14. The computer-readable memory medium of claim 1,
of the virtual model, the map user interface element, and the             wherein the text user interface element further includes a
text user interface element are presented to the user at the       20         second label indicating a location of a different space of
same time.                                                                    the plurality of spaces of the real property; and
   4. The computer-readable memory medium of claim 1                      wherein the method further comprises changing the cur-
wherein the map user interface element is a 2D projection of                  rent view to a different view upon receiving a user input
the rendered virtual model.                                                   selecting the second label, the different view being
   5. The computer-readable memory medium of claim 1               25         positioned in the different space of the plurality of
wherein the method further comprises:                                         spaces of the real property.
   presenting a navigation interface that facilitates virtual              15. The computer-readable memory medium of claim 1
      movement to different positions in the real property              wherein the method further comprises:
      using at least one of a visually presented portion of the           receiving a request to schedule an in-person tour of the
      virtual model, a map user interface element, or a text       30         real property.
      user interface element.                                              16. The computer-readable memory medium of claim 1
   6. The computer-readable memory medium of claim 1                    wherein the method further comprises:
wherein the combining and processing two or more                           facilitating a transaction regarding the real property.
instances of the ground truth image data to create the                     17. The computer-readable memory medium of claim 16
plurality of synthesized views further comprises:                  35   wherein the transaction further comprises one or more of:
   constructing one or more point clouds using the ground               scheduling a tour, initiating messaging, initiating audio
      truth image data;                                                 communication, customer relationship management, trans-
   generating one or more geometric proxies from the con-               action document signing or tracking, on-line negotiations,
      structed point clouds, each geometric proxy comprising            offer submissions, inspection support, financing support,
      a model of geometric data with registered captured           40   real-estate transaction workflows, data tracking, or reporting
      images or texture maps at associated points in the                functions.
      model of geometric data; and                                         18. A computer-readable memory medium containing
   rendering the at least some of the plurality of synthesized          program commands for controlling a computer processor,
      views from the generated geometric proxies.                       when executed, to provide image-based rendering of a real
   7. The computer-readable memory medium of claim 6               45   property, by performing a method comprising:
wherein the generating and rendering the virtual model of                  obtaining two or more views from capture locations in a
the current space using at least one of the plurality of                      plurality of spaces of the real property using ground
synthesized views is rendered from the generated one or                       truth image data, the ground truth image data including
more geometric proxies.                                                       images of the real property captured from the capture
   8. The computer-readable memory medium of claim 6               50         locations;
wherein the method further comprises:                                      defining a plurality of spatial boundaries of the plurality
   capturing geometric data collected from one or more                        of spaces of the real property, each spatial boundary
      sensors, and wherein the one or more point clouds are                   delineating a volume of one or more of the plurality of
      constructed from a combination of ground truth image                    spaces, at least one of the plurality of spatial boundaries
      data and geometric data, and the one or more generated       55         defining a parcel outline of the real property, and at
      geometric proxies utilize a combination of ground truth                 least one of the plurality of spatial boundaries defining
      image data and geometric data.                                          a space located within the parcel outline;
   9. The computer-readable memory medium of claim 1                       annotating the ground truth image data by annotating at
wherein the method further comprises:                                         least some of the captured images of the real property
   creating a synthesized view that is a spherical panorama        60         with information indicating a capture location of a
      of captured ground truth image data, and wherein the                    corresponding image relative to a corresponding spatial
      rendered virtual model of the current space renders the                 boundary, each capture location identifying a location
      spherical panorama.                                                     within the corresponding spatial boundary defined
   10. The computer-readable memory medium of claim 1                         space or identifying the space delineated by the corre-
wherein the synthetic views enable rotation of a presented         65         sponding spatial boundary;
portion of the virtual model about a vertical axis and a                   combining and processing two or more instances of the
horizontal axis.                                                              ground truth image data to create a plurality of synthe-
     Case 6:20-cv-00376-ADA Document 29-5 Filed 11/05/20 Page 22 of 22


                                                  US 10,592,973 B 1
                           19                                                                     20
   sized views, wherein the synthesized views comprise                    determining a second panorama located nearby the
   one or more composites, transitions, or projections                       second location using a point in the geometric proxy
   derived from processing ground truth image data, and                      that corresponds to the second location; and
   wherein the synthesized views are associated with                      visually presenting a transition to the determined sec-
   corresponding spaces of the plurality of spaces of the       5            ond panorama resulting in visual presentation of the
   real property by:
                                                                             second panorama.
   constructing one or more point clouds using the ground
      truth image data; and                                             19. The computer-readable memory medium of claim 18
   generating one or more geometric proxies from the                 wherein the second panorama is not adjacent to the first
      constructed point clouds, each geometric proxy com-            panorama in the virtual model.
                                                                10
      prising a model of geometric data with registered                 20. The computer-readable memory medium of claim 18
      captured images or texture maps at associated points           wherein the first and second panoramas are spherical pan-
      in the model of geometric data; and                            oramas.
generating and rendering a virtual model of a current
   space within the plurality of spaces of the real property            21. The computer-readable memory medium of claim 18
   from a perspective of a current view, the current view       15   wherein the transition is performed using one or more image
   associated with the current space and being one of the            based rendering techniques for rendering with no geometry,
   plurality of views obtained using ground truth image              rendering with implicit geometry, or rendering with explicit
   data or one of the plurality of synthesized views                 geometry.
   derived from processing ground truth data;                           22. The computer-readable memory medium of claim 18
identifying the current space in the real property where        20   wherein the user indication to navigate to the second loca-
   the current view is located using the capture locations           tion is selection of a label corresponding to one of the
   indicated by the annotated ground truth image data;               defined spatial boundaries of the plurality of spaces of the
visually presenting a portion of the rendered virtual model          real property.
   of the current space in a user interface as a navigable
   first panorama; and                                                  23. The computer-readable memory medium of claim 22
                                                                25
in response to receiving a user indication to navigate to a          wherein the label corresponds to an indoor area, an outdoor
   second location within the plurality of spaces of the real        area, a floor, or a room of the property.
   property not contiguous to the current space,                                          *   *   *    *   *
